Case 1:15-cr-00119-MAC-ZJH          Document 364       Filed 12/12/16   Page 1 of 2 PageID #:
                                           949




 UNITED STATES DISTRICT COURT                        EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,                      '
                                                '
                       Plaintiff,               '
                                                '
 v.                                             '           NO. 1:15-cr-119-4-MAC
                                                '
 TERRANCE ARDOIN,                               '
                                                '
                       Defendant.               '

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed

 by Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and

 Recommendation on Guilty Plea Before the United States Magistrate Judge. The magistrate

 judge recommended that the court accept the Defendant’s guilty plea.            He further

 recommended that the court adjudge the Defendant guilty on Count One of the Third

 Superseding Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the

 plea agreement until after review of the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Terrance Ardoin, is
Case 1:15-cr-00119-MAC-ZJH         Document 364       Filed 12/12/16     Page 2 of 2 PageID #:
                                          950



 adjudged guilty as to Count One of the Third Superseding Indictment charging a violation of

 21 U.S.C. §. 846 - Conspiracy to Possess with Intent to Manufacture and Distribute.
           SIGNED at Beaumont, Texas, this 7th day of September, 2004.
           SIGNED at Beaumont, Texas, this 12th day of December, 2016.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
